UNITED STATES BANKRUPTCY COURT &
NORTHERN DISTRICT OF CALIFORNIA >

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Name of Debtor: Case No. Us b © Ny
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Last four digits of Soc. Sec, No.:
KXX-XX-5982
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CHAPTER 13 PLAN
Section 1. Notices

1.01. Notices.

(a) Use of this form is mandatory. The Bankruptcy Court of the Northern District of California requires the

use of this local form chapter 713 plan in lieu of any national form plan. Fed. R. Bankr. P. 3075.1.

(b) Notice of specific plan provisions required by Fed.R.Bankr.P. 3015.1(c). Any nonstandard provision
is in section 7 below.

if the plan proposes to limit ihe amount of a secured claim based on a valuation of the collateral for the
claim, this box must be checked [ ].

if the plan proposes te avoid a security interest or lien, this box must be checked [_ ].

if there are nonstandard provisions, this box must be checked{ |]. A nonstandard provision will be given
no effect unfess this section indicates one is included in section 7 and it appears in section /.

1.02. No alterations to form plan permitted. Other than to insert text into designated spaces, to expand tables to
include additional items, or to change the plan title to indicate the date of the plan or that it is a modified plan, the
preprinted text of this form shall not be altered. No such alteration will be given any effect.

1.03. Valuation of collatera! and lien avoidance. Unless otherwise provided in Section 7 below, as to non-
governmental units, the confirmation of this plan will not limit the amount of a secured claim based on a valuation
of the collateral for the claim, nor will it avoid a securily interest or lien. This relief requires a separate claim
objection, valuation motion or adversary proceeding, or ften avoidance motion, with supporting evidence, that is
successfully prosecuted in connection with the confirmation of this plan. Determining the amount of secured and
priority claims of governmental units, however, must be done in compliance with Fed. R.Bankr.P. 3072.

 

1.04. Confirmation of Plan. In the absence of a timely written objection, the plan may be confirmed without a hearing.
It will be effective upon its confirmation.

Section 2. Plan Payments and Plan Duration

 

2.01. Monthly plan payments. fo complete this plan, Debtor shall submit to the supervision and control of Trustee on
a monthly basis the sum of $ 1,984.00 from future earnings. This monthly plan payment is subject to adjustment
pursuant to section 3.07(b}(5) below and it must be received by Trustee not later than the 20" day of each month
beginning the month after the order for relief under chapter 13. The monthly plan payment includes all adequate
protection payments due on Class 2 secured claims.

2.02. Other payments. In addition to the submission of future earnings, Debtor will make payment(s) derived from
property of the bankruptcy estate, property of Debtor, or from other sources, as follows: Business income and
assistance from adult children

 

 

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2.03. Duration of payments. The monthly plan payments will continue for 60 months unless all allowed unsecured
claims are paid in full within a shorter period of time. If necessary to complete the plan, monthly payments may
continue for an additional 6 months, but in no event may a pian be proposed and confirmed that exceeds 60
months. This section is to be read in conjunction with section 3.14.

Section 3. Claims and Expenses
A. Proofs of Claim

3.01. With the exception of the payments required by sections 3.03, 3.07(b), 3.08(b), 3.10, and 4.01, a claim will not be
paid pursuant to this plan unless a proof of claim is filed by or on behalf of a creditor, including a secured creditor.

3.02. The proof of claim, not this plan or the schedules, shall determine the amount and classification of a claim unless
the court’s disposition of a claim objection, valuation motion, adversary proceeding, confirmed plan, or lien
avoidance motion affects the amount or classification of the claim, consistent with section 1.03.

3.03.  Post-petition amounts due on account of a domestic support obligation, a loan from retirement or thrift savings
plan, or an executory contract/unexpired lease being assumed, shall be paid by Debtor directly to the person
entitled to such payments whether or not the pian is confirmed or a proof of claim has been filed.

B.._ Administrative Expenses

3.04. Trustee’s fees. Pursuant to 28 U.S.C. § 586(e), Trustee shall retain up to 10% of plan payments, whether made
before or after confirmation, but excluding direct payments by Debtor provided for by the plan.

3.05. Debtor's attorney's fees. Debtor's attorney was paid $0 prior to the filing of the case. Additional
fees of $0 shail be paid through this plan upon court approval. Debtor's attorney will seek the
court’s approval by [choose one]: CL] complying with General Order 35; or C1 filing and serving a motion in
accordance with 11 U.S.C. §§ 329 and 330, Fed. R. Bankr. P. 2002, 2016, and 2017 [if neither alternative is
selected, the attorney shall comply with the latter].

3.06. Administrative expenses. In accordance with sections 5.02 and 5.03 below, $0 of each monthly plan
payment shall be paid on account of: (a) compensation due a former chapter 7 trustee; (b) approved
administrative expenses; and (c) approved attorney's fees. Approved administrative expenses shall be paid in full
through this plan except to the extent a claimant agrees otherwise or 11 U.S.C. § 1326(b}{3){B) is applicable.

C, Secured Claims

 

3.07. Class 1 includes all delinquent secured claims that mature after the completion of this plan, including
those secured by Debtor’s principal residence.

 

{a) Cure of defaults. All arrears on Class 1 claims shall be paid in full by Trustee. The monthly installments
specified in the table below as the “monthly arrearage dividend,” in conjunction with the distribution scheme in
section 5 of this plan, shall pay the arrears In full.

{1) Unless otherwise specified below, interest will accrue at the rate of 0%.

(2} The arrearage dividend must be applied by the Class 7 creditor to the arrears. [f this plan provides for
interest on the arrears, the arrearage dividend shall be applied first to such interest, then to the arrears.

(b) Maintaining payments. From plan payments received, Trustee shall make all post-petition monthly payments
to the holder of each Class 1 claim whether or not this pian is confirmed or a proof of claim is filed.

(1} Uniess sub-part (b}{1}(Ajor(B) of this section is applicable, the amount of the post-petition monthly
payment shail be the amount specified in the plan.

(A} |f the amount specified in the plan is incorrect, the Class 1 creditor may demand the correct
amount in its proof of claim. Unless and until an objection to such proof of claim is sustained, the
trustee shail pay the payment amount demanded in the proof of ciaim.

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(B) Whenever the post-petition monthly payment amount is adjusted in accordance with the
underlying loan documentation, including changes resulting from an interest rate or escrow
account adjustment, the Class 1 creditor shall give notice of payment change pursuant to Fed. R.
Bankr. P. 3002.1 {(b). Notice of the change in a proof of claim is not sufficient. Until and unless an
objection to a notice of payment change is sustained, the trustee shall pay the amount demanded
in the natice of payment change.

(2) If Debtor makes a partial plan payment that is insufficient to salisfy all post-petition monthly payments
due each Class 7 claim, distributions will be made in the order such claims are listed in the table below.

{3} Trustee will not make a partial distribution on account of a post-petition monthly payment.

(4) If Debtor makes a partial pian payment, or if it is not paid on time, and Trustee is unable to make timely
a post-petition monthly payment, Debtor may be obligated to pay a late charge.

(5) If the holder of a Class 1 claim files a notice of payment change in accordance with Fed.R.Banke.P.
3002.1(b) demanding a higher or lower post-petition monthly payment, the plan payment shall be adjusted
accordingly, without modification of the plan.

(6) if the holder of a Class 1 claim gives Debtor and Trustee notice of post-petition fees, expenses, and
charges in accordance with Fed. R. Bankr. P. 3002.1(c), Debtor may modify this plan if Debtor wishes to
provide for such fees, expenses, and charges.

(7) Post-petition monthly payments made by Trustee and received by the hoider of a Class 1 claim shail
be applied as if the claim was current and no arrearage existed on the date the case was filed.

(c}) No claim modification and lien retention. Each Class 1 creditor shail retain its lien. Other than to cure
arrears, this plan does not modify Class 1 claims.

 

 

Class 1 Creditor’s Name/ Amount of Interest Monthiy Monthly Arrearage Post-Petition
Collateral Description Arrears Rate on Arrearage Dividend Start Date Monthly
Arrears Dividend (Start Date will bea Payment
specific month/year
during the plan)
1. Select Portfolio Servicing/ 2195 Santa [24683.29 0% 411.39 03/01/2020 1374.00

 

 

 

 

 

 

 

 

 

Totals: $441.39 $1374.00

 

 

   

 

3.08. Class 2 includes all secured claims that are modified by this plan, or that have matured or will mature
before the plan is completed.

 

(a} Payment of claim. Subject to section 3.08{c), the “monthly dividend” payabie to each Class 2A and 2B claim
is a monthly payment sufficient to pay each claim in full with interest at the rate specified below. [f no interest rate
is specified, a 5% rate will be imputed.

 

(b) Adequate protection payments. Prior to confirmation and once a proof of claim is filed, Trustee shall pay on
account of each Class 2(A) and 2(B) claim secured by a purchase money security interest in personal property an
adequate protection payment if required by 11 U.S.C. § 1326{a}{(1}{(C}. The adequate protection payment shall
equal the monthly dividend. Adequate protection payments shail be disbursed by Trustee in connection with the
customary disbursement cycle beginning the month after the case was filed. ifa Class 2 claimant is paid an
adequate protection paymeni, that claimant shall not be paid a monthly dividend for the same month.

(c) Claim amount. The amount of a Class 2 claim is determined by applicable nonbankruptcy iaw. However,
except as noted below, Debtor may reduce the claim amount to the value of the collateral securing it by complying
with Section 1.03 above.

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(1) Class 2 claims that cannot be reduced based on value of collateral. Debtor is prohibited from
reducing a claim if the claim holder has a purchase money security interest and the claim either was
incurred within 910 days of the filing of the case and is secured by a motor vehicle acquired for the
personal use of Debtor, or was incurred within 1-year of the filing of the case and is secured by any other
thing of value. These claims must be included in Class 2(A).

{2) Class 2 claims that may be reduced based on the value of their collateral shall be included in
Class 2(B) or 2(C) as is appropriate.

(3} Class 2 claims secured by Debtor's principal residence. Except as permitted by 11 U.S.C. §
132?(c}, Debtor is prohibited from modifying the rights of a holder of a claim secured only by Debtor's

principal residence.

{d) Lien retention. Each Class 2 creditor shall retain its existing lien on the property interest of the Debtor or the
Estate until the earlier of: (a) payment of the underlying debt determined under nonbankruptcy law, or (b)
completion of the plan and, unless not required by the bankruptcy court, entry of Debtor's discharge under 14

U.S.C. § 1328.

 

Class 2(A) Creditor's name and
description of collateral

Amount claimed
by creditor

Purchase money
security interest in
personal property?
YES/NO

 

 

Class 2(A) claims are not reduced based
on value of collateral

 

1. NONE

 

2.

      
 
 
 
  
  

 
  
 

Value of
creditor's
interest in its
collateral

 

interest
Rate

Monthiy
Dividend

 

 

 

 

 

 

YES/NO

 

 

 

 

Class 2{B) claims are reduced to an
amouni greater than $0 based on value of
coilateral

 

1. NONE

  
 
 
   
   
  
 
 
 
 

   
 

Total $0
Class 2(B} Creditor’s name and Purchase money Amount claimed Value of Interest Monthly
description of collaterat security interest in by creditor creditor's Rate Dividend
personal property? interest in its

collateral

 

 

 

 

 

2

 
   

 

 

 

 

 

 

  
   

  
      
     

personai property?
YES/NO

 

Class 2(C) are claims reduced to $0 based
on value of collateral

 

1. NONE

 

2

 

 

 

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Total $0
Class 2(C) Creditor’s name and Purchase money Amount claimed Value of Interest Monthly
description of collateral security interest in by creditor creditor's Rate Dividend
interest in its

collateral

  
 
    

 

 
 

 

  
 

 

 

 

0% $0.00
0% $0,600
Total $ $0,00

 

 

 

 

 
3.09. Class 3 includes all secured claims satisfied by the surrender of collateral.

 

Class 3 Creditor's Name/Coltateral Description Estimated Deficiency ts Deficiency a Priority Claim?
YES/NO

 

1. NONE

 

 

 

 

 

 

3.10. Class 4 includes all secured claims paid directly by Debtor or third party. Class 4 claims are not in default
and are not modified by this plan. These claims shall be paid by Debtor or a third person whether or not a proof of
claim is filed or the plan is confirmed.

 

Class 4 Creditor’s Name/Collateral Description Monthly Contract Installment Person Making Payment

 

1. NONE

 

 

 

 

 

2.

 

3.11. Bankruptcy stays.

(a) Upon confirmation of the plan, the automatic stay of 11 U.S.C. § 362(a) and the co-debtor stay of 11 U.S.C.

§ 1301{a) are (1) terminated to allow the holder of a Class 3 secured claim to exercise its rights under non-
bankruptcy faw against its collateral; and (2) modified to allow the nondebtor party to an unexpired lease that is in
default and rejected in section 4 of this plan to obtain possession of leased property, and to dispose of it under
applicable taw, and io exercise its rights against any nondebtor.

(b) Secured claims not listed as Class 1, 2, 3, or 4 claims are not provided for by this plan. While this may be
cause to terminate the automatic stay, such relief must be separately requested by the claim holder,

(c) If, after confirmation of the plan, the court grants a motion to terminate the automatic stay to permit a Class 1 or
2 claim holder to proceed against its collateral, unless the court orders otherwise, Trustee shall make no further
payments on account of such claim and any portion of such claim not previously satisfied under this plan shall be
satisfied as a Class 3 claim. Any deficiency remaining after the creditor's disposition of its collateral shall be
satisfied as a Class 7 unsecured claim subject to the filing of a proof of claim.

D. Unsecured Claims

3.12. Class 5 consists of unsecured claims entitled to priority pursuant to 11 U.S.C. § 507.
{a) Domestic support obligations entitled to priority pursuant to 11 U.S.C. § 507. These claims will be paid in
full except to the extent the claim holder has agreed to accept fess or 17 U.S.C. § 1322(a)(4) is applicable. When

the claim holder has agreed to accept less than payment in full or when 11 U.S.C. § 1322(a)(4) is applicable, the
claim holder and the treatment of the claim shall be specified in section 7, the Nonstandard Provisions.

 

(b) Taxes, and other priority claims entitled to priority pursuant to 11 U.S.C. § 507. These claims will be paid
in ful except to the extent the claim holder has agreed to accept less. When the claim holder has agreed to accept
less than payment in full, the claim holder and the treatment of the claim shall be specified in section 7, the
Nonstandard Provisions.

 

(c) Estimate of priority claims pursuant to 11 U.S.C. § 507. Debtor estimates that all priority claims, not
including those identified in section 7, total $0 ;

3.13. Class 6 includes designated nonpricrity unsecured claims, such as co-signed unsecured debts, that will be
treated differently than the other nonpriority unsecured claims provided for in Class 7. The claim holder of each
Class 6 claim and the treatment of each claim shall be specified in section 7, the Nonstandard Provisions.

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3.14. Class 7 consists of all other nonpriority unsecured claims not provided for in Class 6. These claims total
approximately $0 . Class 7 creditors shall be paid on a pro-rata basis by the Trustee from the funds
remaining after the Trustee pays the administrative expenses and other claims provided for in this plan.
[select one of the following options:]

Xx Percent Plan. Class 7 claimants will receive no less than_0_% of their allowed claims through this plan.
Pot Plan. Class 7 claimants are estimated to receive__% of their allowed claims through this plan.

This section is to be read in conjunction with section 2,03.

Section 4. Executory Contracts And Unexpired Leases

4.01. Debtor assumes the executory contracts and unexpired leases fisted below. Debtor shall directly pay all post-
petition monthly lease or contract payments to the other party to the executory contract or unexpired lease.
Unless otherwise permitted under the Bankruptcy Code or Section / herein, pre-petition arrears shall be fully
paid. Trustee shall pay the monthly arrearage dividend specified in the table below.

 

Name of Other Parly to Executory Contract/ Unexpired Lease Post-Petition Monthly Pre-petition Arrears Monthly Arrearage
Payment Dividend

 

1. NONE

 

2.

 

 

 

 

 

Total $

 

 

 

 

4.02. Debtor rejects the executory contracts and unexpired leases listed below. Any executory contract or unexpired
lease not listed in section 4.01 or section 4.02 is rejected.

 

Name of Other Party to Executory Contract/Unexpired Lease Description of Executory Contract/Unexpired Lease

 

1. NONE

 

 

 

 

2.

 

Section 5. Payment of Claims and Order of Distribution

5.01. After confirmation, payments by Trustee to holders of allowed claims and approved expenses will be made
monthly.

 

5.02. Distribution of plan payment by Trustee. Debtor's monthly plan payment must be sufficient to pay in full: (a)
Trustee's fees; (b) post-petition monthly payments due on Class 1 claims; (c) the monthly dividend specified in
section 3.06 for administrative expenses; and (d) the monthly dividends payable on account of Class 1 arrearage
claims, Class 2 claims, and executory contract and unexpired lease arrearage claims.

 

lf Debtor tenders a partial monthly plan payment to Trustee, Trustee shall pay, to the extent possible, such fees,
expenses, and claims in the order specified in (a) through (4) above. If the amount paid by Debtor, however, is
insufficient to pay all dividends due on account of fees, payments, expenses, and claims within a subpart of
section 5.02(a) through (d}, no dividend shall be paid on account of any of the fees, payments, expenses, and
claims within such subpart, except as permitted by section 3.07/{b}(2) and (3).

Once a monthly plan payment, or a portion thereof, is not needed to pay a monthly dividend because a fee,
expense, or claim is net allowed or has been paid in full, such plan payment shall be paid pro rata, based on claim
balance, to holders of: first, section 3.06 administrative expenses; second, Class 1 arrearage claims, Class 2
claims, and executory contract and unexpired lease arrearage claims; third, Class 5 priority claims; fourth, Class
6 unsecured claims: and fifth, Class 7 unsecured claims. Over the plan’s duration, these distributions must equal
the total dividends required by sections 3.04, 3.06, 3.07, 3.08, 3.12, 3.13, 3.14, and 4.01.

5.03. Priority of payment among administrative expenses. The portion of fhe monthly plan payment allocated in
section 3.06 for administrative expenses, shall be distributed first fo any former chapter 7 trustee up to the monthly
amount required by 11 U.S.C. § 1326{b)}(3}(B), and second, to holders of approved administrative expenses on a
pro rata basis.

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Section 6. Miscellaneous Provisions

6.01. Vesting of property. Property of the estate will revest in Debtor upon confirmation unless Debtor checks the
following box: L] SHALL NOT REVEST.

If the property of the estate does not revest in Debtor, Trustee is not required to file income tax returns for the estate
or insure any estate property. Upon dismissal or completion of this plan, all property shail revest in Debtor.
Notwithstanding the revesting of property in Debtor, the court will retain its supervisory role post-confirmation to
enforce Fed. R. Bankr. P. 3002.1 and provide any other relief necessary to effectuate this plan and the orderly
administration of this case.

After the property revests in Debtor, Debtor may sell, refinance or execute a loan modification regarding real or
personal property without further order of the court with the approval of Trustee.

6.02. Remedies upon default. If Debtor defaults under this plan, Trustee or any other party in interest may request
appropriate relief by filing a motion pursuant to Local Bankruptcy Rule 9014-1, et seq. This relief may consist of,
without limitation, dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to
pursue rights against collateral. This is without prejudice to Debtor's right to seek plan modification under 17
U.S.C. § 1329.

6.03. Impermissible Provisions. Notwithstanding any other term in this plan, Debtor does not seek through the
confirmation and completion of this plan either a determination of the dischargability of any debt or the discharge
of any debt that is non-dischargable as a matter of law in a Chapter 13 case under 11 U.S.C. § 1328(a).

Section 7. Nonstandard Provisions

Debtor may propose nonstandard provisions that modify the preprinted text of this form plan. All nonstandard plan
provisions shall be set forth below, or on a separate page(s) appended to this plan. Each such provision shall be identified
by a section number beginning with section 7.01 and indicate which section(s) of the form plan are modified by it.
Nonstandard provisions placed elsewhere in the plan are void. The signatures below are certifications by Debtor and
Debtor's attorney that this plan form has not been altered and that all nonstandard provisions are in section 7 and
appended to this plan.

 

 

 

 

 

Dated: x | Jorma tloes )
O2/09/ Debtor
2020

Debtor
Dated:

Debtor's Attorney

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